Case 1:18-Cr-10045-DPW Document 52-2 Filed 02/28/18 Page 1 of 1

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UNITED sTATES DlsTRICT COURT 55 5 55 =
FoR THE H€!°,FFFW
DISTRICT oF MASSACHUSETTS “ .szitss',
UNITED STA'I`ES OF AMERICA ) /
) %
v. ) Criminal No.'\&("} lOOLl
)
MICHAEL SEXTON )
WAIVER OF INDICTMEN'I`

 

I, Michael Sexton, the above-named defendant, Who is accused of knowingly and
intentionally distributing a Schedule ll controlled substance, namely, cocaine base, on June 29,
2017`, August lO, 2017, September 5, 201 ?, and September 27, 201 7, in violation onI U.S.C.
§84l(a)(l), being advised of the nature ot` the charges, the proposed information, and my rights,
hereby waive in open court on prosecution by indictment and

consent that the proceeding may be by information instead of by indictment

 

Michael Sexton
Defendant

 

Vietoria Kelleher
Counsel for the Det`endant

Before:
United States District Court Judge

 

